IN THE UNITED STATES DISTRICT COURT FOR THE

EASTERN DISTRICT oF TENNESSEE ’
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(AT KNOXVILLE)
PETITIONER s).S. msrmcr com
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UNITED STATES OF AMERICA
RESPONDENTS CASE NO. 3:18-cv-347

MOTION TO SUPPLEMENT 28 USC 2255(f)(3)

Comes now Petitioner Jason Melton Petitioner who moves this
Court to supplement his 28 USC 2255(f)(3) with the following
argument for relief. Petitioner statesdthat in Erik Lindsey
Hughes v United States 584 US 138 S Ct 1765, 201 L. Ed. 2d 72
2018 US LEXIS 3385 June 4, 2018, the Supreme Court held--- A
district court could consider the benefits the defendant gained
by entering a Type-C, Fed.R.Crim.P. ll(c)(l)(C) agreement when
deciding whether a reduction was appropriate or when determining
the extent of any reduction as the statute permitted, but did not
require, the court to reduce a sentence. Petitioner was eligible
for 3582(c)(2) relief where the district court accepted his
Type-C agreement after concluding that a 180-month sentence was
consistent with the Guidelines, calculated the sentencing range

and imposed a sentence deemed compatibbe with the Guidelines.

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The Sentencing Reform Act aims to create a comprehensive sentencing

scheme in which those who commit crimes of similar conditions
receive similar sentences. 18 USC 3582(c)(2) contributes to that
goal by ensuring that district courts may adjust sentences imposed
pursuant to a range that the USSC concludes is'too Severe, out ~~~~~ '
of step with the seriousness of the crime and the sentencing

ranges of analogous offenses and inconsistent with the Act's

purposes.

ln 2010 Petitioner dason Melton pleaded guilty to possessing a
firearm as a felon pursuant to a Rule ll(c)(l)(C) agreement and a
stipulated sentence of 180 months. Petitioner Melton states that
pursuant to Hughes v United States 138 S Ct 1765 March 27, 2018,
that he is eligible for relief under 18 USC 3582(0)(2). Petitioner
Melton states the district court accepted his Type-C 11(c)(1)(C)
agreement in 2010 after concluding that a 180-month sentence was
consistent with the guidelines and then calculated Melton's
sentencing range and imposed a sentence it deemed "compatible"
with the Guidelines. The Sentencing range was a basis for the
sentence imposed, and that range has since been lowered by the
United States Sentencing Commission.

Therefore, based on the above arguments citing 18 USC 3553(a) and
Hughes, 138 S Ct 1765 (2018), Petitioner Melton supplements his
Motion For Relief under 28 USC 2255(f)(3). Petitioner Melton
request this court to supplement this argument and resentence

him accordingly.

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l Petitioner Jason Melton do hereby certify that on

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CERTIFICATE OF SERVICE

 

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copy of this Motion To Supplement 28 USC 2255€£)(3) to the

2019 that 1 mailed a true and correct

___..___.,_...._

following below by depositing this instrument in the US MAILROOM

MAILBOX.

 

1. Clerk Of Court
Howard H. Baker Jr., US Courthouse
800 Market Street, Suite 130

Knoxville,

TN 37902

2. Debra A. Breneman
A§sistanthSiAttarney
Howard H. Baker Jr.7 US Courthouse`
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